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                                  UNITED STATES BANKRUPTCY COURT
                                   WESTERN DISTRICT OF KENTUCKY
                                        OWENSBORO DIVISION

IN RE:                                                                            CHAPTER 13
                                                                                  CASE NO. 20-40597
ROBERT ALLEN ASHWORTH
              Debtor
_____________________________________________________________________________

                      NOTICE OF CHANGE OF ADDRESS
______________________________________________________________________________

          Comes the Debtor, by counsel, and gives notice of his change of addresses. His new

address is: 410 Maryland Street, Ferdinand, IN 47532



                                                             /s/ Steven D. Wilson
                                                             Steven D. Wilson
                                                             WILKEY & WILSON, P.S.C.
                                                             111 West Second Street
                                                             Owensboro, KY 42303
                                                             (270) 685-6000


                                                    Certificate of Service

        I hereby certify the foregoing was filed electronically with the U S Bankruptcy Court this
26th day of August, 2021, and a copy furnished electronically or by U S Mail to: Hon William
Lawrence, 310 Republic Plaza, 200 South Seventh St., Louisville, KY 40202 and all creditors on the
matrix.


                                                             /s/ Steven D. Wilson
                                                             Steven D. Wilson


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